    Case: 1:21-cv-03672 Document #: 78 Filed: 06/27/22 Page 1 of 4 PageID #:466




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

WILLIAM DUKES,

                      Plaintiff
                                                              Case No. 1:21-cv-03672
               v.
                                                              Judge: Hon. Mary M. Rowland

CHICAGO POLICE SERGEANT JAMES                                Magistrate Judge: Hon. Young B.
WASHBURN, #20372, CHICAGO POLICE                             Kim
DETECTIVE ROLANDO RODRIGUEZ, #20751
CICERO POLICE DETECTIVE DARLENE
SOBCZAK, #123, CICERO POLICE DETECTIVE
ROBERT DONEGAN, #488, CICERO POLICE
DETECTIVE ALLAN PINEDA, #496, COOK
COUNTY STATES ATTORNEY
INVESTIGATOR BRIAN KILLACKY, #361,
COOK COUNTY, CITY OF CHICAGO,
CITY OF CICERO,
                 Defendants,

                       DEFENDANT COOK COUNTY’S UNCONTESTED
                     MOTION FOR ENTRY OF ORDER IN LIEU OF ANSWER

       Defendant, Cook County, by its attorney, KIMBERLY M. FOXX, State’s Attorney of

Cook County, and through Assistant State’s Attorneys Elizabeth F. Brogan and Jessica L.

Wasserman, pursuant to Federal Rule of Civil Procedure 8, respectfully moves this Court to

to enter an order in lieu of answer to Plaintiff’s Complaint. In support of this motion, the County

states as follows:

       1.      On July 12, 2021, Plaintiff filed a complaint naming as complaint naming as

               Defendants Chicago Police Sergeant James Washburn, #20372, Chicago Police

               Detective Rolando Rodriguez, #20751, Chicago Police Detective Darlene Sobczak,

               #123, Cicero Police Detective Robert Donegan, #488, Cicero Police Detective
Case: 1:21-cv-03672 Document #: 78 Filed: 06/27/22 Page 2 of 4 PageID #:467




        Allan Pineda, #496, Cook County State’s Attorney Investigator Brian Killacky,

        #361, the City of Chicago, the City of Cicero, and Cook County State’s Attorney

        Kim Foxx. (Dkt. 4.)

  2.    On April 26, 2022, this Court dismissed Defendant Kim Foxx but gave Plaintiff

        leave to amend his complaint to substitute Cook County as a Defendant for

        indemnification purposes. (Dkt. 61.)

  3.    On April 27, 2022, Plaintiff filed an amended complaint naming Cook County as

        an additional defendant. (Dkt. 63.)

  4.    Plaintiff sent a request for waiver of service to Cook County on April 29, 2022.

        Defendant Cook County’s answer is due on June 28, 2022. (Dkt. 66.)

  5.    The undersigned attorneys filed their appearances on behalf of the County on May

        2, 2022 and June 22, 2022. (Dkt. 67, 77).

  6.    Plaintiff’s complaint contains eight counts. Counts I through V seek to impose

        substantive liability on various combinations of Defendants other than Cook

        County. No relief is sought against the County in any of Counts I through V. Counts

        VI and VII name Defendants City of Chicago and City of Cicero, respectively, for

        indemnification purposes. Count VIII, entitled “Indemnification (Defendant Cook

        County)” is the sole count of Plaintiff’s complaint attributed to Defendant Cook

        County. It is clear from the face of the complaint that Cook County is named only

        for indemnification purposes. (Dkt. 63).

  7.    Defense counsel has conferred with Plaintiff’s counsel, who indicated that he has

        no objection to this motion.
    Case: 1:21-cv-03672 Document #: 78 Filed: 06/27/22 Page 3 of 4 PageID #:468




       8.      Because Plaintiff names Cook County for indemnification purposes only, the

               County respectfully requests that this Court enter the proposed Order in Lieu of

               Answer, in the form of the proposed order sent via email pursuant to this Court’s

               standing order to: Proposed_Order_Rowland@ilnd.uscourts.gov. The proposed

               order states, in sum, as follows: (1) There is no basis for liability on the part of the

               County articulated in Plaintiff’s complaint; (2) the County remains in this case

               solely for purposes of indemnification as alleged in Count VIII of Plaintiff’s

               complaint and reserves all its defenses with respect to Count VIII; and (3) the

               County is not obligated to answer or otherwise respond to Plaintiff’s complaint.

       9.      Courts in this district have entered similar orders where Cook County is named as

               a defendant for indemnification purposes only. See Wilson v. Administrator of the

               Estate of Former Chicago Police Department Commander Jon Burge, et al., No.

               1:21-cv-03487, Dkt. No. 133 (N.D. Ill. March 4, 2022); Adamidis v. Cook County,

               et al., No. 1:19-cv-07652, Dkt. No. 18 (N.D. Ill. Feb. 10, 2020).

       WHEREFORE Defendant Cook County, Illinois, respectfully requests that this Honorable

Court enter an order in lieu of answer to Plaintiff’s complaint, and for such other and further relief

as the Court deems necessary and appropriate.


                                                       Respectfully submitted,


                                                       COOK COUNTY, ILLINOIS


                                                       By:     /s/ Jessica L. Wasserman
                                                       Jessica L. Wasserman
                                                       Elizabeth F. Brogan
                                                       Assistant State’s Attorneys
                                                       500 Richard J. Daley Center
                                                       Chicago, IL 60602
Case: 1:21-cv-03672 Document #: 78 Filed: 06/27/22 Page 4 of 4 PageID #:469




                                        (312) 603-6638
                                        jessica.wasserman@cookcountyil.gov
                                        elizabeth.brogan@cookcountyil.gov
